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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


LEAGUE OF UNITED LATIN AMERICAN
CITIZENS, et al.,

                     Plaintiffs,
  v.                                         Civil Action No. 25-0946 (CKK)

EXECUTIVE OFFICE OF THE PRESIDENT,
et al.,

                     Defendants.



DEMOCRATIC NATIONAL COMMITTEE,
et al.,

                     Plaintiffs,
  v.                                         Civil Action No. 25-0952 (CKK)

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                     Defendants.



LEAGUE OF WOMEN VOTERS
EDUCATION FUND, et al.,

                     Plaintiffs,
  v.                                         Civil Action No. 25-0955 (CKK)

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                     Defendants.



                     MEMORANDUM IN SUPPORT OF
       LEAGUE AND LULAC PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY
                              JUDGMENT
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                                       INTRODUCTION

       On March 25, 2025, the President issued an Executive Order that unconstitutionally

overhauls American elections. As relevant here, Section 2(a) directs the U.S. Election Assistance

Commission (“EAC”) to require U.S. citizens registering to vote in federal elections using the

national mail-in voter registration form (“Federal Form”) to submit a passport or another specified

type of documentary proof of citizenship. This Court preliminarily enjoined that part of the

Executive Order because “[o]ur Constitution entrusts Congress and the States—not the

President—with the authority to regulate federal elections.” League of United Latin Am. Citizens

v. Exec. Off. of the President (“LULAC”), No. 25-cv-0946, 2025 WL 1187730, at *1 (D.D.C. Apr.

24, 2025). Congress has jealously guarded its authority to regulate the Federal Form, entrusting

the task to the independent, bipartisan EAC to insulate the Federal Form from partisan control. No

“statutory delegation of authority to the Executive Branch permits the President” to unilaterally

command sweeping changes to the Federal Form. Id.

       Thus, in its thorough preliminary injunction opinion, this Court held that the President’s

ultra vires command violates the Elections Clause and the constitutional separation of powers and

that its implementation threatens Plaintiffs and their members with irreparable harm. That analysis

is correct and requires no further factual development. Id. at *28. The Court should now grant

summary judgment in Plaintiffs’ favor on their challenge to Section 2(a) and permanently enjoin

its implementation. 1




       1
         For purposes of this brief, the term “Plaintiffs” refers to the Nonpartisan Plaintiffs. The
Nonpartisan Plaintiffs are the “League Plaintiffs” (League of Women Voters Education Fund,
League of Women Voters of the United States, League of Women Voters of Arizona, Hispanic
Federation, National Association for the Advancement of Colored People, OCA-Asian Pacific
American Advocates, and Asian and Pacific Islander American Vote) and the “LULAC Plaintiffs”
(League of United Latin American Citizens, Secure Families Initiative, and Arizona Students’
Association).


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                                          BACKGROUND
I.       Legal Background
         A. Constitutional and Federal Law on the Authority to Regulate Federal Elections
            and Voter Registration

         Federal elections are and always have been governed by Congress and the States, not the

President. The Elections Clause provides in relevant part that “[t]he Times, Places and Manner of

holding [federal] Elections . . . shall be prescribed in each State by the Legislature thereof; but the

Congress may at any time by Law make or alter such Regulations.” U.S. Const. art. I, § 4; see also

id. art. I, § 2.

         Exercising its constitutional authority, Congress passed the National Voter Registration

Act (“NVRA”) in 1993. Pub. L. No. 103-31, 107 Stat. 77 (1993) (codified as amended at 52 U.S.C.

§ 20501 et seq.). It did so to “increase the number of eligible citizens who register to vote in

elections for Federal office,” 52 U.S.C. § 20501 (b)(1), while also recognizing the need to protect

the “integrity of the electoral process,” id. § 20501(b)(3). Congress also sought to cure the “direct

and damaging effect on voter participation in elections for Federal office and disproportionate[]

harm [to] voter participation by various groups, including racial minorities,” wrought by

“discriminatory and unfair registration laws and procedures.” Id. § 20501(a)(3).

         To help achieve these goals, Congress created a voter registration form (the “Federal

Form”) that “[e]ach State shall accept and use.” Id. § 20505(a)(1). But Congress set strict

parameters for the Federal Form, both as to what it must include and what it cannot. See id.

§ 20508(b). Regardless of the contents of State voter registration forms, the “uniform” Federal

Form “provides a backstop” that “guarantees . . . a simple means of registering to vote in federal

elections will be available.” Arizona v. Inter Tribal Council of Ariz., Inc. (“ITCA”), 570 U.S. 1, 4,

12 (2013). Within that framework, Congress originally delegated the authority to “prescribe such

regulations as are necessary” to “develop” the Federal Form to the Federal Election Commission
(“FEC”), an independent, bipartisan agency, “in consultation with” the States’ “chief election

officers.” 52 U.S.C. § 20508(a)(1)–(2).



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       Congress later transferred authority over the Federal Form to the EAC. See 52 U.S.C.

§ 21132. It created the EAC, like the FEC, as a bipartisan, “independent entity,” 52 U.S.C.

§ 20921, when it enacted the Help America Vote Act of 2002 (“HAVA”). Pub. L. No. 107-252,

116 Stat. 1666, 1726 (2002) (codified as amended at 52 U.S.C. § 20901 et seq.). The EAC has four

commissioners, no more than two of whom may be affiliated with the same political party.

52 U.S.C. § 20923(a)(1), (b)(2). The President has a limited role in relation to the EAC: he appoints

commissioners, with the Senate’s advice and consent, based on recommendations from the

Majority and Minority Leaders of the House and Senate. Id. § 20923(a)(2). Each appointed EAC

member must “have experience with or expertise in election administration or the study of

elections.” Id. § 20923(a)(3). Congress designed the EAC such that it may not take “[a]ny action”

without “the approval of at least three of its members,” ensuring that no decision can be made

without bipartisan support. Id. § 20928.

       To maintain the Federal Form, the EAC promulgates formal regulations through notice-

and-comment rulemaking. Id. § 20929; see, e.g., 59 Fed. Reg. 32,311 (June 23, 1994) (final rules

regulating the Federal Form). But Congress tightly circumscribed the EAC’s authority to make

changes to the Federal Form. For one, it instructed that the Federal Form must “contain[] an

attestation that the applicant meets” “each eligibility requirement (including citizenship)” that

“requires the signature of the applicant, under penalty of perjury.” 52 U.S.C. § 20508(b)(2). Every

person who registers using the Federal Form must therefore swear under penalty of perjury that

they are a U.S. citizen. Id. §§ 20504 (c)(2)(C), 20506(a)(6)(A), 20508(b)(2). And Congress

prohibited “any requirement for notarization or other formal authentication.” Id. § 20508(b)(3).

Congress further authorized the EAC to request “identifying information” and “other information”

on the Federal Form only if the information “is necessary to enable the appropriate State election

official to assess the eligibility of the applicant and to administer voter registration and other parts
of the election process.” Id. § 20508(b)(1).

       In addition to these substantive constraints, Congress imposed a mandatory procedure that

the EAC must follow before amending the Federal Form. As described above, the EAC must


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engage in notice-and-comment rulemaking under the Administrative Procedure Act (“APA”),

5 U.S.C. § 551 et seq.; see Decl. of Brianna Schletz (“Schletz Decl.”), ECF No. 85-1 ¶ 4

(Defendants acknowledging that APA applies). 2 The APA requires that agencies publish a general

notice of proposed rulemaking, give interested persons the opportunity to submit written comments

for a period of at least 30 days, and consider those comments in its rulemaking. 5 U.S.C. § 553. 3

         The EAC must also comply with the Paperwork Reduction Act (“PRA”), 44 U.S.C. § 3501

et seq.; see also Schletz Decl. ¶ 7 (Defendants acknowledging that PRA applies). The Federal

Form is considered a “collection of information” under the PRA such that changes to it require a

separate 60-day public comment period, in addition to the minimum 30-day comment period the

APA would still require otherwise. 44 U.S.C. §§ 3502(3), 3507(c)–(d). After the EAC considers

such comments, it must submit the revised Federal Form to the Office of Management and Budget

(“OMB”) and publish a notice for an additional 30-day comment period. 44 U.S.C. § 3507(a)–(b).

OMB would then need to approve the revised form. 44 U.S.C. § 3507(c), (g).

         Congress also added requirements to ensure that the Federal Form enables voter

registration for eligible applicants. In addition to the requirement that States must “accept and use”

the Federal Form, 52 U.S.C. § 20505(a)(1), the NVRA requires that States allow for voter

registration as part of the driver’s license application process, id. § 20503(a)(1). It also mandates

that certain State offices distribute the Federal Form. Id. §§ 20506(a)(1), (a)(4), (a)(6). Such offices

are designated as “voter registration agenc[ies].” Id. § 20502(5). These include “all offices in the

State that provide public assistance” and those “that provide State-funded programs primarily

engaged in providing services to persons with disabilities.” Id. § 20506(a)(2). The NVRA further

directs the States to “designate other offices within the State as voter registration agencies,” which

“may include” additional State or local government offices as well as “Federal and


         2
             Citations to “ECF” herein refer to filings in the consolidated action, LULAC, No. 1:25-
00946.
         3
         The APA also imposes its own substantive restraints, requiring reasoned decision-making
consistent with the relevant authorizing statute. 5 U.S.C.§ 706(2).


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nongovernmental offices, with the agreement of such offices.” Id. § 20506(a)(3). As part of the

duties specified under the NVRA, a voter registration agency must distribute the Federal Form or

its equivalent, assist applicants with completing the Federal Form, and accept and transmit the

completed Federal Form for transmission to the appropriate State election official. Id.

§ 20506(a)(4).

       Congress also delegated other—largely advisory—tasks to the EAC for the administration

of federal elections. 52 U.S.C. § 20922 (prescribing six limited EAC duties). In carrying out these

tasks, Congress specified that the EAC lacks “authority to issue any rule, promulgate any

regulation, or take any other action which imposes any requirement on any State or unit of local

government, except to the extent permitted under section 20508(a) of this title”—i.e., except to

maintain the Federal Form and submit certain reports to Congress regarding NVRA compliance.

Id. § 20929. These tasks include adopting voluntary guidance for voting systems—i.e., the

equipment and systems under which ballots are cast and counted—with the assistance of a

technical guidelines committee also established by statute. Id. §§ 20922(5), 20942, 20961, 20962,

21081(b). The EAC is also responsible for disbursing congressionally appropriated federal funds

pursuant to formulas established by statute. See id. § 20922(4); see also id. §§ 21001(a), 21002.
       B. Congress and the Independent Agencies Consider and Reject Documentary
          Proof-of-Citizenship Requirement.

       Congress considered and rejected a documentary proof-of-citizenship requirement in

connection with the Federal Form. In 1993, while Congress considered the NVRA’s passage,

members raised concerns about noncitizens using the Federal Form to register to vote. However,

the Senate report specifically notes that Congress found that the NVRA “provides sufficient

safeguards to prevent noncitizens from registering to vote.” S. Rep. No. 103-6, at 9 (1993).

Congress reached this conclusion because the NVRA requires that “every application for voter

registration must include a statement [setting forth the citizenship requirement] and requires that
the applicant sign an attestation clause, under penalty of perjury.” Id.; see also H.R. Rep. No.

103-9, at 10 (1993) (“The Committee believes that these provisions [to set forth citizenship



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requirements and require an attestation under penalty of perjury] are sufficient to deter fraudulent

registration.”). In other words, Congress considered the NVRA’s protections against noncitizen

voting sufficient—without documentary proof of citizenship.

        When the NVRA reached conference, Congress specifically rejected a proposed

amendment that would have allowed States to require documentary proof of citizenship. H.R. Rep.

No. 103-66 (1993) (Conf. Rep.), as reprinted in 1993 U.S.C.C.A.N. 140, 146. The Conference

Report found that the amendment was “not necessary or consistent with the purpose of this Act.”

Id. It emphasized that the proposed amendment would “effectively eliminate, or seriously interfere,

with the mail registration program of the Act [and] could also adversely affect the administration

of the other registration programs.” Id. 4

        The FEC and the EAC—the two bipartisan, independent agencies that have been

responsible for the Federal Form—have likewise declined to add a documentary proof-of-

citizenship requirement. In 1994, in the FEC’s final rulemaking governing the Federal Form, the

agency rejected commenters’ requests to require information regarding naturalization, concluding

that, by law, the only information necessary to determine citizenship qualifications is the statutorily

required attestation. See Final Rules: National Voter Registration Act of 1993, 59 Fed. Reg.

32,311, 32,316 (June 23, 1994). The FEC explained that “[w]hile U.S. citizenship is a prerequisite

for voting in every state . . . [t]he issue of U.S. citizenship is addressed within the oath required by

the Act and signed by the applicant under penalty of perjury.” Id.

        In the 23 years since Congress delegated limited responsibility over the Federal Form to

the EAC, that agency has never disturbed its predecessor’s decision to not require documentary

proof of citizenship. In 2006, the EAC rejected Arizona’s requests for a state-specific amendment

to accommodate Arizona’s documentary proof-of-citizenship procedure. Ex. 28, U.S. Election

Assistance Comm’n, Mem. of Decision Concerning State Requests to Include Additional Proof-

        4
         Courts have relied on this legislative history in rejecting previous attempts to add
documentary proof-of-citizenship requirements to voter registration processes covered by the
NVRA. See Fish v. Kobach, 189 F. Supp. 3d 1107, 1114–15 (D. Kan. 2016); Kobach v. U.S.
Election Assistance Comm’n, 772 F.3d 1183, 1195 n.7 (10th Cir. 2014).


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of-Citizenship Instructions on the National Form, Dkt. No. EAC-2013-0004 (Jan. 17, 2014) at 2.

The EAC again rejected this request in 2014 when Arizona, Georgia, and Kansas asked it to modify

the Federal Form to instruct that applicants in those States provide documentary proof of

citizenship. See id. In the 2014 decision, the EAC explained that both:
        the FEC and the EAC . . . specifically considered and determined, in their
        discretion, that the oath signed under penalty of perjury, the words ‘For U.S.
        Citizens Only’ and later the relevant HAVA citizenship provisions, see 42 U.S.C.
        § 15483(b)(4)(A) (adding to the Federal Form two specific questions and check
        boxes indicating the applicant’s U.S. citizenship), were all that was necessary to
        enable state officials to establish the bona fides of a voter registration applicant’s
        citizenship.

Id. at 22. The EAC rejected these States’ efforts to add documentary proof of citizenship to the

Federal Form because it “would require applicants to submit more information than is necessary

to . . . assess eligibility,” while a sworn attestation of citizenship status “provides the necessary

means for assessing applicants’ eligibility.” Id. at 28–31. And in 2015, when a new EAC Executive

Director tried to unilaterally approve the three States’ requests to require documentary proof of

citizenship with the Federal Form, the D.C. Circuit preliminarily enjoined that decision, League of

Women Voters of U.S. v. Newby, 838 F.3d 1, 15 (D.C. Cir. 2016), and a district court later awarded

summary judgment to the plaintiffs because the EAC had made no determination as to whether the

requirement was “necessary” to assess eligibility, as Congress required under the NVRA, League

of Women Voters of U.S. v. Harrington, 560 F. Supp. 3d 177, 188–89 (D.D.C. 2021).
II.     Factual Background
        A. Section 2(a) of the Executive Order Commands the EAC to Change the Content
           of the Federal Form.

        On March 25, 2025, the President issued Executive Order 14,248 (“Executive Order”) that,

among other things, required the EAC to, within 30 days, “take appropriate action to require . . .

documentary proof of United States citizenship” with the Federal Form. Ex. 1, Exec. Order No.

14,248 § 2(a)(i), 90 Fed. Reg. 14,005 (Mar. 25, 2025), https://perma.cc/F55X-RYFN; see also
League & LULAC Plaintiffs’ Statement of Undisputed Material Facts (“SUMF”) ¶¶ 1–2. The




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Executive Order defines “documentary proof of citizenship” to include a copy of the following

documents:
       (A) a United States passport;
       (B) an identification document compliant with the requirements of the REAL ID
       Act of 2005 (Public Law 109-13, Div. B) that indicates the applicant is a citizen of
       the United States;
       (C) an official military identification card that indicates the applicant is a citizen of
       the United States; or
       (D) a valid Federal or State government-issued photo identification if such
       identification indicates that the applicant is a United States citizen or if such
       identification is otherwise accompanied by proof of United States citizenship.

Exec. Order § 2(a)(ii); see also SUMF ¶ 3.

       Section 2(a)(i)(B) of the Executive Order further directs the EAC to change the Federal

Form to compel State or local officials to record information specific to the documentation that

each applicant presents when registering with the Form. It mandates that the Federal Form must:
       require . . . a State or local official to record on the form the type of document that
       the applicant presented as documentary proof of United States citizenship,
       including the date of the document’s issuance, the date of the document’s expiration
       (if any), the office that issued the document, and any unique identification number
       associated with the document as required by the criteria in 52 U.S.C.
       21083(a)(5)(A), while taking appropriate measures to ensure information security.

Exec Order § 2(a)(i)(B); see also SUMF ¶ 5.

       As this Court explained, “Section 2(a) leaves no uncertainty about what it requires from

the EAC.” LULAC, 2025 WL 1187730, at *28. It “unambiguously commands” the EAC to amend

the Federal Form to require that applicants provide one of the limited forms of citizenship

documents the Executive Order specifies. See id. (quoting City & Cnty. of San Francisco v. Trump,

897 F.3d 1225, 1240 (9th Cir. 2018)).
       B. The EAC Begins to Implement Section 2(a).

       Consistent with the Executive Order’s mandate and 30-day deadline for action, the EAC

took immediate steps to implement its terms. On April 11, EAC’s Executive Director Brianna
Schletz sent a letter on EAC letterhead to each State’s chief election official “seeking consultation

on development of” the Federal Form in response to the Executive Order’s “instruction” that


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documentary proof of citizenship “be required.” SUMF ¶¶ 6–7. The NVRA requires the EAC to

consult with State chief election officers as part of the Commission’s process to develop or amend

the Federal Form. See 52 U.S.C. § 20508(a)(2). The letter thus demonstrates that the EAC had

“already begun to implement Section 2(a).” LULAC, 2025 WL 1187730, at *30. 5

       Consistent with the Executive Order’s plain meaning and the Schletz letter, Defendants

represented at this Court’s preliminary-injunction hearing that “documentary proof [of citizenship]

is required” on the Federal Form because that is what “the President has ordered.” SUMF ¶ 8.

Thus, Section 2(a) leaves the EAC no discretion with respect to whether a documentary proof-of-

citizenship requirement will be added to the Federal Form. SUMF ¶ 11.
       C. Section 2(a)’s Impact on Plaintiffs

       Plaintiffs are nonpartisan, nonprofit organizations whose core missions and activities

center around empowering voters, safeguarding the right to vote, and promoting an accountable

democracy through voter education, public outreach, and voter registration. SUMF ¶¶ 12–13. To

accomplish their missions, Plaintiffs regularly organize and conduct voter registration events to

help eligible citizens register to vote—including using the Federal Form—and educate the public

about the importance of voter registration and political participation. SUMF ¶¶ 14–15.

       Each year, Plaintiffs collectively help thousands register to vote. SUMF ¶ 18. In addition

to hosting voter registration events, Plaintiffs educate and assist their members in navigating the

voter registration process and encourage their members to participate in the political process.


       5
         Three days after Executive Director Schletz circulated the April 11 letter, Defendants
inaccurately represented that Section 2(a) “has not even begun to be implemented,” Defs.’ Resp.
in Opp’n to League and LULAC Pls.’ Mot. for Prelim. Inj., ECF No. 85, at 30, and stressed that
such implementation “may never occur,” id. at 15. Defendants’ counsel subsequently asserted that
he “had no knowledge of the letter.” Ex. 3, Tr. of Oral Arg. on Pls.’ Mot. for Prelim. Inj. (“PI Tr.”)
11:3. Defendants’ counsel went on to insist that the letter “is not any step at all that’s contemplated
by the APA in the rulemaking process.” Id. at 11:8–12. More recently, however, at a public
meeting of the EAC’s Technical Guidelines Development Committee on July 2, 2025, the EAC’s
general counsel acknowledged that the letter seeking to consult with the States was “required by
the NVRA process” that the EAC had initiated in response to the Executive Order. Ex. 29, U.S.
Election Assistance Comm’n, Technical Guidelines Development Committee Meeting (July 2,
2025), transcript at 51:14–20 (transcribed by Planet Depos, from video at
https://www.youtube.com/watch?v=fls42gHmKj8).


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SUMF ¶ 16. The “Federal Form is a singularly essential resource” because it enables Plaintiffs “to

register voters with one consistent form in almost all states.” SUMF ¶¶ 21–22. For example,

Plaintiff Hispanic Federation relies on the Federal Form to register voters at “in-person events with

out-of-state attendees because people from various states attend those events.” SUMF ¶ 23. This

“allows [them] to give the same voter registration form to every attendee, without attempting to

distinguish between residents of different states,” which “would be impracticable.” SUMF

¶¶ 24–25.

       If the EAC implements Section 2(a) of the Executive Order, Plaintiffs’ missions and core

voter registration activities would be frustrated because they would be unable to register many

eligible citizens who lack the requisite documentation using the Federal Form. SUMF ¶ 26.

Millions of U.S. citizens—whom Plaintiffs could otherwise help register to vote—lack or cannot

easily obtain one of the four types of documentary proof of citizenship Section 2(a) requires. See,

e.g., Newby, 838 F.3d at 9 (characterizing documentary proof-of-citizenship requirements as “new

obstacles [that] unquestionably make it more difficult” for organizations to register voters); Fish

v. Schwab, 957 F.3d 1105, 1128 (10th Cir. 2020). Less than half of eligible citizens hold a valid

passport, with Black people disproportionately likely to lack one, and it can cost as much as $160

and take up to two months to arrive. SUMF ¶¶ 78–81. And over 60% of foreign-born Asian

Americans are naturalized citizens, 6 including those who naturalize alongside their parents while

children; for many, obtaining a naturalization certificate is a costly and lengthy process—upwards

of $500 7 and over five and a half months to obtain. 8 Most REAL IDs do not indicate citizenship

status, and those that do are available in only five States and for an additional fee. SUMF ¶¶ 82–84.


       6
          Ex. 32, U.S. Census Bureau, The Foreign-Born Population in the United States: 2022,
at 7 (2024), https://perma.cc/2QPX-KTF7.
        7
           Ex. 33, U.S. Citizenship & Immigration Servs., G-1055, Fee Schedule
https://perma.cc/SC3W-H3GD.
        8
           Ex. 34, U.S. Citizenship & Immigr. Servs., Case Processing Times,
https://egov.uscis.gov/processing-times/ (select “N-565 | Application for Replacement
Naturalization/Citizenship Document” from dropdown; then “U.S. citizen applying for a
replacement of a naturalization or citizenship certificate”; then “Nebraska Service Center”).


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Likewise, not all military identification cards indicate citizenship, as Defendants admit, and voters

are not eligible for a military card unless they have a qualifying relationship to the military. SUMF

¶¶ 85–86. And millions of Americans do not have a birth certificate that matches their current legal

name 9 (assuming birth certificates even qualify as proof of citizenship under Section 2(a)), and

many (including disproportionate numbers of Black and Brown citizens) lack one altogether. 10

       The core missions and activities of Plaintiffs including Hispanic Federation, the National

Association for the Advancement of Colored People (“NAACP”), and League of United Latin

American Citizens (“LULAC”) would be particularly harmed by Section 2(a)’s implementation

because eligible voters in the Black and Latino communities they primarily serve

disproportionately lack access to documentary proof of citizenship. SUMF ¶¶ 30–33. Plaintiff

Secure Families Initiative’s (“SFI”) mission would similarly be frustrated because fewer of its

members and fewer military family members overall would be able to register to vote. SUMF ¶ 41;

see SUMF ¶¶ 34–40. And the core mission and activities of Plaintiff Arizona Students’

Association (“ASA”) would be harmed because ASA would be unable to register students to vote

who lack documentary proof of citizenship. SUMF ¶¶ 13, 26–29.




       9
          Ex. 35, Luona Lin, About 8 in 10 Women in Opposite-Sex Marriages Say They Took Their
Husband’s Last Name, Pew Research Center (Sept. 7, 2023), https://perma.cc/UDK5-EXNM
(Roughly 84 percent of married women and six percent of married men in opposite-sex marriages
in the United States changed their name when they got married.); Ex. 36, UCLA Sch. of L.,
Williams Inst., How Many Adults and Youth Identify as Transgender in the United States? (June
2022), https://perma.cc/S5LV-LVYG.
        10
           Many Black citizens never received a birth certificate because of racially discriminatory
laws that limited their ability to access such documentation. See Ex. 37, Susan J. Pearson, The
Birth Certificate: An American History 257, 259 (Nov. 16, 2021); Ex. 38, Betsy L. Fisher,
Citizenship, Federalism, and Delayed Birth Registration in the United States, 57 Akron L. Rev.
49, 55–58, 65–73 (2024), https://perma.cc/8MQ8-YGWY; see also Ex. 8, Suppl. Decl. of Tyler
Sterling ¶ 49. Millions of voting-age people born in Puerto Rico lack a valid birth certificate
because the Puerto Rico government invalidated the birth certificates of all persons born in Puerto
Rico before July 1, 2010. See Ex. 39, U.S. Soc. Sec. Admin., Program Operations Manual Sys.
Acceptance of Puerto Rico Birth Certificates, GN 00301.065 (last updated Oct. 29, 2010),
https://perma.cc/5FGD-UDL2; see also 24 L.P.R.A. § 1325; Ex. 9, Decl. of Jessica Guttlein ¶ 14.


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        Section 2(a)’s implementation would also force Plaintiffs to stop using the Federal Form

to register even those potential voters who do possess compliant documentation, further frustrating

their missions. This is true for three distinct reasons.

        First, because Section 2(a) requires potential voters to submit copies of actual documents

showing their citizenship status along with Federal Form, the League of Women Voters of Arizona

(“LWVAZ”), LULAC, and other Plaintiffs’ members and volunteers would need to collect copies

of voters’ sensitive personal documents such as passports to assist them, requiring Plaintiffs to

purchase copiers or scanners. SUMF ¶ 62–63. But LWVAZ, LULAC, the NAACP, and other

Plaintiffs do not have the resources or institutional expertise to scan and securely store copies of

proof-of-citizenship documents and transmit them to election authorities. SUMF ¶ 66. Moreover,

voter registration drives held at churches, college campuses, grocery stores, and in other public

places would be less effective because many people who are eligible to register to vote do not carry

their passport or other citizenship documents as they go about their daily routines. SUMF ¶¶ 67,

69–70. Indeed, the U.S. State Department advises passport holders to “store [your passport] in a

secure location to prevent pets or children from damaging your passport.” SUMF ¶ 68. And at

voter registration drives on school campuses, ASA would need to hire additional staff to handle

the lengthier voter registration process for each individual without creating long lines, which

would discourage students from registering. SUMF ¶¶ 64–65.

        Second, in the experience of LWVAZ, LULAC, and NAACP volunteers, voters are often

concerned about giving vitally important personal information and sensitive personal documents

to any third parties, even trusted voter registration organizations. SUMF ¶ 71. Asking voters to

provide copies of such documents would jeopardize LWVAZ’s, LULAC’s, and NAACP’s

longstanding reputations as trusted organizations and would likely make voters less willing to

participate in their registration events. SUMF ¶¶ 72–73. LWVAZ, for example, does not collect or
retain applicants’ information from an applicant’s voter registration form. SUMF ¶ 74.

        Third, even if LWVAZ, LULAC, NAACP, and other Plaintiffs’ volunteers were willing to

copy registrants’ highly sensitive information, they would be unable to advise prospective voters


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about what types of documentation satisfy the Executive Order because of its confusing nature.

SUMF ¶ 65. For example, the Executive Order refers to identification compliant with “the REAL

ID Act of 2005,” but most REAL IDs do not denote citizenship. See supra at 10; SUMF ¶ 82.

       Section 2(a)’s implementation would further severely burden Plaintiffs’ ability to conduct

registration drives because it would impair their existing methods for registering voters. SUMF

¶¶ 42–61. For example, Plaintiff Asian Pacific Islander American Vote (“APIAVote”), in

partnership with Rock the Vote, has created a national, multilingual voter registration portal based

on the Federal Form. SUMF ¶¶ 43–44. That portal enables eligible citizens who speak Bengali,

Chinese, Hindi, Ilocano, Japanese, Korean, Tagalog, Thai, Urdu, and Vietnamese to register to

vote in compliance with the Federal Form in their primary language. SUMF ¶ 45. Importantly,

APIAVote’s portal includes the Federal Form in languages not available from the EAC, such as

Ilocano, Thai, and Urdu. SUMF ¶ 46. OCA-Asian Pacific American Advocates (“OCA”) relies on

APIAVote’s platform to register voters. SUMF ¶ 48. The League of Women Voters (“the League”)

also has a website—VOTE411.org—that relies on Rock the Vote’s registration portal. SUMF

¶¶ 49–50. As part of its voter registration efforts, Hispanic Federation uses the TurboVote portal,

which, like Rock the Vote, is a user-friendly interface with the Federal Form. SUMF ¶¶ 52–53.

And NAACP uses a similar portal with a user-friendly interface with the Federal Form, Vote.org,

as well as physical copies of the Federal Form during in-person voter registration. SUMF ¶¶ 54–56.

However, none of these portals is designed to collect copies of documents showing proof of

citizenship, as the Executive Order requires. SUMF ¶ 57. As a result, “if the Federal Form is

changed to require documentary proof of citizenship, APIAVote’s Asian language voter

registration portal will be immediately defunct,” SUMF ¶ 58, undermining Plaintiffs’ missions and

efforts to help Asian American and Pacific Islander communities register to vote. This change

would similarly harm NAACP and Hispanic Federation as it would disrupt, if not eliminate, Rock
the Vote and Vote.org. SUMF ¶¶ 59–60.

       The impact of implementing Section 2(a) would be particularly acute for Plaintiffs who

operate in Arizona. There, State law prohibits voters from registering to vote in State and local


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elections absent documentary proof of citizenship (as defined under State law), see Ariz. Rev. Stat.

§ 16-166, but individuals who lack documentary proof of citizenship can still register as “federal-

only” voters using the Federal Form and cast a ballot that includes only federal elections, see ITCA,

570 U.S. at 20. For any Arizonans who lack the requisite documentation, the Executive Order

would prevent them from registering as federal-only voters and, as a result, from voting in federal

elections. SUMF ¶ 123; see also SUMF ¶¶ 118, 122, 124. New voters (or new-to-Arizona voters)

without the required documents could not register; nor could current voters who lack the relevant

papers but need to update their registration after moving to a new county in Arizona. See Ariz.

Rev. Stat. § 16-166(G), (H) (requiring individuals who move counties to update their registration

and provide documentary proof of citizenship when doing so).

       Organizations that routinely register voters in Arizona, such as Plaintiffs LWVAZ and

LULAC, encourage voters who have access to documentary proof of citizenship to provide it when

registering so that they can vote in State and local elections, not just federal ones. SUMF ¶ 125.

ASA uses the Federal Form when registering student voters in Arizona who lack documentary

proof of citizenship. SUMF ¶ 120. Of the 3,500 students registered at a recent ASA voter

registration drive, “about half” used the Federal Form. SUMF ¶ 121.

       In LWVAZ’s and LULAC’s experience, these voters typically provide proof of citizenship

when they have access to it. SUMF ¶ 126. Often, Arizona voters will provide an identification

number rather than documentation itself. SUMF ¶ 130. 11 Even so, as of January 2, 2025, there

were more than 48,000 federal-only voters in Arizona, at least 40,000 of whom did not provide


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           Arizona’s documentary proof-of-citizenship process is less restrictive than what the
Executive Order seeks to mandate. In addition to accepting copies of documents similar to those
identified in the Executive Order, Arizona law alternatively allows potential voters to provide
identification numbers from any of the following documents on their State form: Arizona driver’s
license or nonoperating license issued after October 1, 1996, Alien Registration Number,
Naturalization Certificate Number, Citizenship Certificate Number, Indian Census Number,
Bureau of Indian Affairs Number, Tribal Treaty Card Number, or Tribal Enrollment Number. See
SUMF ¶ 127. Arizona election officials then use the voter’s identification number to verify
citizenship status. See SUMF ¶ 128. As a result, the majority of Arizonans that meet the
documentary proof-of-citizenship requirement do so by providing an identification number
without having to track down and photocopy actual documents. See SUMF ¶ 129.


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documentary proof of citizenship when they registered. SUMF ¶ 131. And an additional 200,000

voters did not provide proof of citizenship when they registered to vote but were classified as full

voters and may soon be reclassified as federal-only voters. SUMF ¶¶ 132–35.

       But Plaintiffs would be unable to use the Federal Form to register eligible Arizona residents

who lack documentary proof of citizenship and these eligible Arizona residents would have no

method to register to vote or update their registration. These changes to the Federal Form,

therefore, would thwart one of the core missions of the Plaintiff organizations operating in

Arizona—to help ensure that every eligible U.S. citizen in Arizona is registered to vote and can

participate in elections. SUMF ¶ 119. Indeed, ASA has members in Arizona who are eligible to

vote but would have difficulty complying with Section 2(a)’s documentary-proof-of-citizenship

requirement because they do not have a passport, their birth certificate is inaccessible or

unavailable, and they lack other qualifying documentation. SUMF ¶ 136.

       In addition to the direct and irreparable harms that implementation of Section 2(a) would

inflict on Plaintiffs’ core mission and activities, Plaintiffs have already been, and would continue

to be, required to divert significant resources to address the mandated changes to the Federal Form.

Plaintiffs have already diverted, and are planning to divert additional resources from existing

projects because of the Executive Order’s documentary proof-of-citizenship requirement, which

would force them to expend considerable resources to, at a minimum: conduct a comprehensive

evaluation of what changes the organizations need to implement in voter registration efforts across

the country, educate their members and the public on how to comply with such a requirement, and

assist the individuals they register to ensure compliance with the Executive Order. SUMF ¶ 87.

       For example, in response to the Executive Order, Plaintiffs have expended, and will

continue to expend, resources toward educating their members and the public about the changes

in documentary proof-of-citizenship requirements, including by updating their many existing voter
registration resources. SUMF ¶¶ 88–110. The League would have to overhaul educational

materials that it hosts on VOTE411.org—a crucial resource on which thousands of voters rely for

trusted bilingual information about registration requirements, registration status checks, and to


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register to vote—to avoid the harm caused by providing incorrect or incomplete information.

SUMF ¶¶ 50, 89. Likewise, to revive its Asian language voter registration portal, APIAVote would

be forced to commit resources to substantially change that portal, both “to instruct registrants to

provide documentary proof of citizenship” and “create guides in multiple Asian languages about

how to register to vote using State voter registration processes so that it can provide information

useful to all AAPI voters, even those without documentary proof of citizenship.” SUMF ¶ 90.

Doing so “will be a burdensome task that will divert resources away from . . . APIAVote’s other

core activities,” including its advocacy efforts to provide “in-language materials to local election

officials.” SUMF ¶ 91. Until APIAVote’s portal is restored, other organizations that rely on that

portal, including OCA, would similarly have to pull resources from their regular, core activities

toward developing a new method of registration to replace or supplement APIAVote’s portal.

SUMF ¶ 92. The League and LULAC would likewise have to overhaul their online voter

registration resources, which currently rely on Rock the Vote and its use of the Federal Form.

SUMF ¶ 93. Hispanic Federation and NAACP would also have to reevaluate their usage of voter

registration portals that rely on the Federal Form. SUMF ¶ 94.

       Similarly, SFI has already been forced to overhaul its training and educational resources in

response to Section 2(a)’s documentary proof-of-citizenship requirement. SUMF ¶ 95. For

example, SFI has not traditionally focused on the distinction between State voter registration forms

and the Federal Form in assisting its members who register to vote outside of the Uniformed and

Overseas Citizens Absentee Voting Act (“UOCAVA”) process. SUMF ¶ 97. SFI has begun to

revise its “Voting Ambassadors” toolkit in response to the Executive Order, and implementation

of Section 2(a) would continue to force SFI to develop specific expertise in advising its members

on registration using State voter registration options and develop more detailed training and

educational materials for its members registering outside of UOCAVA. SUMF ¶¶ 95, 98.
       To update these and similar resources, Plaintiffs would need to divert resources from other

core activities. For example, LWVAZ is a member- and volunteer-run organization with a small

number of interns and consultants who are paid hourly, and LWVAZ has financial resources to


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pay them for only a limited number of hours—meaning time spent by volunteers and paid staff

updating training and public information materials is time diverted from LWVAZ’s other core

work, such as registering voters, preparing information about candidates in upcoming elections,

and helping with candidate forums. SUMF ¶¶ 99–101; see also id. ¶¶ 102–03 (similar with

LULAC’s Arizona Council). Indeed, some Plaintiffs have already begun to “expend[] significant

staff time and resources” to counteract Section 2(a), including by diverting resources away from

their regular activities to provide ongoing guidance to staff, canvassers, community partners,

members, volunteers, and the public on how Section 2(a) would affect voter registration efforts

throughout the country. SUMF ¶¶ 104–06.

       This resource drain, too, is particularly harsh in Arizona. For example, many of LWVAZ’s

member volunteers were recently trained to conduct voter registration events, including in several

trainings in the fall of 2024 after the U.S. Supreme Court issued a stay changing some of the voter

registration practices in Arizona. SUMF ¶ 107. But if there are additional and significant changes

to the Federal Form’s requirements, such as the need to require documentary proof of citizenship,

LWVAZ members and volunteers would need to be retrained before conducting any voter

registration events. SUMF ¶ 108. LWVAZ would not be able to conduct as many voter registration

events because it would have to spend time conducting additional trainings instead of registering

voters. SUMF ¶ 109. Similarly, ASA has diverted time and resources away from its voter

registration activities and from planning its annual Grassroots Organizing Weekend and Student

Voting Summit to focus on retraining staff and volunteers for fall voter registration and

“determining how to change [its] operations in response” to the Executive Order. SUMF ¶ 110.

       Further, the Executive Order has already and will continue to cause confusion for

volunteers and voters (including Plaintiffs’ members), harming Plaintiffs’ core missions twice

over. First, uncertainty regarding the Executive Order’s implementation has already sewn
misunderstanding and trepidation among volunteers and members of Plaintiff organizations.

SUMF ¶ 111. Volunteers of Plaintiff organizations are understandably concerned about the specter

of collecting copies of sensitive documents that prove voters’ citizenship. SUMF ¶ 112. The fear


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and uncertainty regarding the Executive Order also harms Plaintiffs’ recruitment and retention of

volunteers, and in turn, their core mission of registering voters. SUMF ¶ 113.

         Second, voter confusion caused by implementation of the Executive Order would make it

more difficult for Plaintiffs to register voters, including their own members. SUMF ¶ 114. Some

individuals who possess documentary proof of citizenship are unlikely to register to vote using a

modified Federal Form because of concern with providing copies of their documentary proof of

citizenship and uncertainty regarding how those copies would be secured. SUMF ¶¶ 39, 71, 73.

To address this chilling effect, Plaintiffs would be forced to expend additional resources

encouraging voter registration. SUMF ¶ 115. To dispel voter confusion, Plaintiffs have already

begun reformulating voter education materials; this demand will only multiply if the Executive

Order takes effect. SUMF ¶¶ 87–89, 95–96, 104. And staff and volunteers at Plaintiff organizations

have already devoted time to preparing for the Executive Order and educating leaders of local

organizations and advocates for impacted communities about its likely effect. SUMF ¶ 116.
III.     Procedural History

         Within one week of its signing, the League and LULAC Plaintiffs challenged various

provisions of the Executive Order. See Compl., LULAC, No. 1:25-cv-00946 (D.D.C. Mar. 31,

2025), ECF No. 1; Compl., League of Women Voters Educ. Fund v. Trump, No. 1:25-cv-00955

(D.D.C. Apr. 1, 2025). The LULAC Plaintiffs challenged Sections 2(a), 3(d), 4(a), and 7 of the

Executive Order, while the League Plaintiffs challenged Section 2(a). The Democratic Party

Plaintiffs also filed a lawsuit challenging Sections 2(a), 2(b)(iii), 2(d), 4(a), 4(b), 4(c), 7(a), and

7(b). Compl., Democratic Nat’l Comm. v. Trump, No. 1:25-cv-00952 (D.D.C. Mar. 31, 2025). 12

The Court consolidated the League, LULAC, and Democratic Party Plaintiffs’ complaints. Mem.

Op. & Order, ECF No. 12. Given their distinct interests as nonpartisan organizations, the Court



         12
           The Democratic National Committee, Democratic Governors Association, Democratic
Senatorial Campaign Committee, Democratic Congressional Campaign Committee, U.S. Senate
Minority Leader Charles E. Schumer, and U.S. House of Representatives Minority Leader Hakeem
S. Jefferies are referred to collectively as “Democratic Party Plaintiffs.”


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permitted the League and LULAC Plaintiffs (collectively, the “Nonpartisan Plaintiffs”) to brief

issues separately from the Democratic Party Plaintiffs. See Order, ECF No. 31.

       On April 7, Plaintiffs moved to preliminarily enjoin Section 2(a) of the Executive Order.

See Nonpartisan Pls.’ Mot., ECF No. 34. The Democratic Party Plaintiffs moved for a preliminary

injunction of Sections 2(a), 2(b), 2(d), and 7. See Democratic Party Pls.’ Mot., ECF No. 53.

Defendants filed their opposition to both motions on April 14. Defs.’ Resp. in Opp’n to Democratic

Party Pls.’ Mot., ECF No. 84; Defs.’ Resp. in Opp’n to Nonpartisan Pls.’ Mot., ECF No. 85.

       On April 21, this Court granted Plaintiffs’ motions for preliminary injunction of Sections

2(a) and 2(d) of the Executive Order. See LULAC, 2025 WL 1187730, at *62. 13 With respect to

Section 2(a) specifically, the Court held that Plaintiffs had a substantial likelihood of standing and

that their claims were ripe because the challenged provision “leaves no uncertainty about what it

requires from the EAC.” Id. at *28; see id. at *26–35. On the merits, the Court held that Plaintiffs

were likely to succeed because “the President lacks the authority to direct the EAC to make

specific, predetermined changes to the Federal Form.” Id. at *40. Defendants declined to appeal.

See Order, ECF No. 122.

       After the Court issued its preliminary injunction, the Republican National Committee

(“RNC”) moved to intervene as a defendant. RNC Mot. to Intervene, ECF No. 125. The Court

granted the motion in part, allowing the RNC to intervene against Plaintiffs’ claims regarding

Sections 2(a), 2(b), 2(d), 3(a), and 7(a), but cabining its involvement to those claims. Mem. Op. &

Order, ECF No. 135.

       On June 20, this Court issued a scheduling order providing for summary judgment briefing

on Plaintiffs’ Section 2(a) claims without discovery and separate briefing and discovery on all

other claims. Scheduling Order, ECF No. 141. The Court recognized that “[a]ll parties agree that


       13
          The Court also denied the Democratic Party Plaintiffs’ preliminary injunction motion as
to Sections 2(b), 7(a), and 7(b). LULAC, 2025 WL 1187730, at *62. But in a lawsuit brought by a
collection of states, another district court granted a preliminary injunction against Sections 7(a)
and 7(b), in addition to Sections 2(a) and 2(d). See California v. Trump, No. 25-cv-10810, 2025
WL 1667949, at *21–22 (D. Mass. Jun. 13, 2025).


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Plaintiffs’ challenges to Section 2(a) of Executive Order 14,248 can be resolved without discovery

on cross-motions for summary judgment.” Id. ¶ 3.
                                           ARGUMENT

       Plaintiffs are entitled to summary judgment on their claim that Section 2(a) violates the

Elections Clause and the constitutional separation of powers and is therefore ultra vires. 14 A court

should grant summary judgment when “there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.” Ali v. Regan, 111 F.4th 1264, 1273 (D.C. Cir.

2024) (quoting Fed. R. Civ. P. 56(a)). Here, Defendants concede that Plaintiffs’ claims “present

pure legal issues” that “can and should be decided without discovery.” Joint Civil Rule 16.3 Report

to the Ct., ECF No. 137, at 11. The Court has likewise recognized that Plaintiffs’ Section 2(a)

claim does not “require further factual development.” LULAC, 2025 WL 1187730, at *28.

Summary judgment is therefore appropriate to consider whether Section 2(a) violates the Elections

Clause and the constitutional separation of powers.
I.     Section 2(a) Violates the Elections Clause and the Constitutional Separation of
       Powers.

       This Court correctly held that Plaintiffs’ separation-of-powers claim is “substantially likely

to succeed on the merits.” LULAC, 2025 WL 1187730, at *35. That remains true. For substantially

the same reasons, the Court should grant summary judgment on that claim.
       A. Plaintiffs Have an Equitable Cause of Action to Enjoin Unconstitutional Action
          by Federal Officers.

       This Court properly held that Plaintiffs have an equitable cause of action to enjoin the

implementation of Section 2(a) of the Executive Order. Id. at *16–17. The Supreme Court has

recognized that plaintiffs have the “ability to sue to enjoin unconstitutional actions by state and

federal officers.” Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327 (2015). Such claims

“reflect[] a long history of judicial review of illegal executive action, tracing back to England.” Id.

Plaintiffs thus have an equitable cause of action to “enforce separation-of-powers principles” in

       14
          The League Plaintiffs challenge only Section 2(a) and therefore respectfully request that
the Court enter final judgment in their favor.


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federal court. Boumediene v. Bush, 553 U.S. 723, 743 (2008); see Free Enter. Fund v. Public Co.

Acct. Oversight Bd., 561 U.S. 477, 491 n.2 (2010) (“[I]t is established practice for this Court to

sustain the jurisdiction of federal courts to issue injunctions to protect rights safeguarded by the

Constitution.”) (quoting Bell v. Hood, 327 U.S. 678, 684 (1946)); Chamber of Com. of U.S. v.

Reich, 74 F.3d 1322, 1327 (D.C. Cir. 1996) (plaintiffs are “entitled to bring a non-statutory cause

of action questioning the legality of [an] Executive Order”). 15
       B. The President Has No Power to Command Changes to the Federal Form.

       The President’s power “to issue the [Executive O]rder must stem either from an act of

Congress or from the Constitution itself.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579,

585 (1952). As this Court explained, “[n]either the Constitution nor any statute explicitly grants

the President the power to dictate the contents of the Federal Form.” LULAC, 2025 WL 1187730,

at *36. “On the contrary, both the Constitution’s Elections Clause and the NVRA vest control over

federal election regulation in other actors, leaving no role for the President.” Id. Section 2(a)

therefore violates the constitutional separation of powers.
            1. Under the Constitution, the President Has No Power to Regulate Federal
               Elections.

       The Elections Clause vests Congress and the States—not the President—with authority to

set rules for congressional elections. It provides that the “Times, Places and Manner of holding

Elections for Senators and Representatives, shall be prescribed in each State by the Legislature

thereof.” U.S. Const. art. I, § 4. The Electors Clause likewise empowers Congress and the States

to regulate presidential elections. U.S. Const. art. II, § 1; Burroughs v. United States, 290 U.S. 534,

544–45 (1934). The Supreme Court has long recognized that Congress’s powers under these

       15
          The LULAC Plaintiffs do not seek summary judgment on their separate APA claims in
this motion. The fact that Plaintiffs could bring separate APA claims to challenge the EAC’s final
agency action if it implements the President’s unlawful order does not foreclose their equitable
claims, which the Court has already held are ripe and likely meritorious. It is black letter law that
the APA “does not repeal” the existence of an equitable cause of action. Reich, 74 F.3d at 1328.
When the President issues an unconstitutional executive order, “courts are normally available to
reestablish the limits on his authority.” Id. at 1328 (quoting Dart v. United States, 848 F.2d 217,
224 (D.C. Cir. 1988)). That is especially true here where the challenged Executive Order itself—
regardless of the manner in which it is implemented—violates the law.


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Clauses are exceedingly broad, “embrac[ing] authority to provide a complete code for

congressional elections,’ including, as relevant here . . . regulations relating to ‘registration.’”

ITCA, 570 U.S. at 8–9 (quoting Smiley v. Holm, 285 U.S. 355, 366 (1932)).

       Crucially, “[t]he Constitution vests none of these powers in the President.” LULAC, 2025

WL 1187730, at *36. While the Framers debated who should regulate elections, weighing the

balance of power between Congress and the States, mention of the President was “conspicuous[ly]

absen[t].” Id. at *5. Indeed, the notion that the Executive would have power to regulate federal

elections “does not appear to have crossed the Framers’ minds.” Id. (citing The Federalist No. 59

(Alexander Hamilton)); see also Debate in Massachusetts Ratifying Convention, in 2 The

Founders’ Constitution 255 (P. Kurland & R. Lerner eds., 1987) (“I know of but two bodies

wherein [the power to regulate federal elections] can be lodged—the legislatures of the several

states, and the general Congress.” (statement of Caleb Strong)). “Congress, not the President, has

the ultimate constitutional authority over elections.” California, 2025 WL 1667949, at *8.

       In fact, “[t]here is no provision in the Constitution that authorizes the President to enact, to

amend, or to repeal statutes.” Clinton v. City of New York, 524 U.S. 417, 438 (1998). Instead, the

President’s role is to “take Care that the Laws be faithfully executed.” U.S. Const. art. II, § 3. And

“the President’s power to see that the laws are faithfully executed refutes the idea that he is to be

a lawmaker.” Youngstown, 343 U.S. at 587. Lawmaking is Congress’s role.
          2. Congress Has Jealously Guarded its Elections Clause Power and Shielded
             Federal Election Regulation from Partisan Interference.

       Not only did Congress refrain from delegating authority to the President to regulate the

Federal Form, but it specifically insulated the Federal Form from partisan interference from both

state and federal actors. Congress enacted the NVRA to “increase the number of eligible citizens

who register to vote in elections for Federal office.” 52 U.S.C. § 20501(b)(1). One way it did that

was by requiring States to “accept and use” the Federal Form to register voters for federal elections.
Id. § 20505(a)(1). To ensure that the form worked to increase voter registrations, Congress limited

the information requested on the form to what is “necessary” to assess voter eligibility, id.



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§ 20508(b)(1), and tasked a bipartisan multimember agency to “prescribe such regulations as are

necessary” to “develop” the form “in consultation with” the States’ “chief election officers,” id.

§ 20508(a)(1)–(2).

       Congress was careful to ensure that the maintenance of the Federal Form would be

insulated from partisan control. It first assigned that task to the FEC and then to the EAC, which

was created as a bipartisan, “independent entity.” 52 U.S.C. § 20921; see supra Background

Section II.B. Congress did not provide the President in either the NVRA or HAVA any say

whatsoever over the Federal Form. The President thus “has no express statutory authority to alter

the content of the Federal Form.” LULAC, 2025 WL 1187730, at *37.

       Because a “clear grant of authority” to the President is “absen[t],” “the scope of his power

to order alterations to the Federal Form depends on the scope of the powers vested in Congress

and the extent to which Congress has implicitly delegated or withheld those powers.” Id. (citing

Zivotofsky ex rel. Zivotofsky v. Kerry, 576 U.S. 1, 10 (2015)). Where, as here, “‘the President takes

measures incompatible with the expressed or implied will of Congress,’” his “power is ‘at its

lowest ebb,’ and his actions ‘must be scrutinized with caution, for what is at stake is the equilibrium

established by our constitutional system.’” Id. (quoting Youngstown, 343 U.S. at 638 (Jackson, J.,

concurring)).

       The President’s directed changes to the Federal Form would upend that equilibrium. His

unilateral mandate to add a documentary proof-of-citizenship requirement to the Federal Form is

contrary to Congress’s manifest will, as expressed in the text, structure, and context of the NVRA

and HAVA. These all confirm that Congress has jealously guarded its Elections Clause authority,

delegating power to regulate the Federal Form only “to a bipartisan panel of experts, accompanied

by a requirement for consultation with the States,” who may change the form only through

consensus. LULAC, 2025 WL 1187730, at *37. The NVRA and HAVA, “which passed with
bipartisan support in two different sessions of Congress nearly a decade apart . . . implicitly forbid[]

any individual member of the Executive Branch from unilaterally exercising the delegated power




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to regulate State voter registration programs.” Id. Thus, the President’s very act of unilaterally

ordering changes to the Federal Form is incompatible with Congress’s will.

       Indeed, “Congress considered and rejected a proposal that would have allowed States to

impose exactly the kind of documentary proof-of-citizenship requirement that the President’s

Executive Order now directs the EAC to adopt.” Id. During debates over the NVRA, Congress

“conclud[ed] that such a requirement was ‘not necessary or consistent with the purposes of [the]

Act.’” Id. (quoting H.R. Rep. No. 103-66, at 23 (1993) (Conf. Rep.)). The rejected amendment

was less burdensome than Section 2(a) of the Executive Order: Whereas the rejected amendment

would have allowed States to require documentary proof of citizenship, Section 2(a) mandates that

they do so. See id. If Congress rejected the former as inconsistent with the purpose of the NVRA,

it would surely reject the latter as well. See, e.g., Fourth Est. Pub. Benefit Corp. v. Wall-Street.com,

LLC, 586 U.S. 296, 307 (2019) (relying on the fact that Congress considered and “rejected

proposals that would have eliminated [copyright] registration” in interpreting a statute).

       Instead, Congress determined that the Federal Form should specify the eligibility

requirements, “including citizenship,” and require voters to sign an attestation that they meet those

requirements “under penalty of perjury.” 52 U.S.C. § 20508(b)(2). Congress also made clear that

the Federal Form may require additional “identifying information,” but only if that information “is

necessary to enable the appropriate State election official to assess the eligibility of the applicant

and to administer voter registration and other parts of the election process.” Id. § 20508(b)(1). It

further prohibited “any requirement for notarization or other formal authentication” to appear on

the form. Id. § 20508(b)(3). And it mandated that any change to the form occur through notice-

and-comment rulemaking under the APA, id. § 20929, satisfy the requirements of the PRA, 44

U.S.C. § 3501 et seq., and, as noted, receive support from a bipartisan majority of commissioners.

Clearly, then, Congress did not explicitly or implicitly delegate power to the President to modify
the Federal Form by adding a documentary proof-of-citizenship requirement.

       A contrary interpretation of the statutes would, among other things, read an unprecedented

amount of presidential authority into a statute that does not even mention the Executive and run


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afoul of the major-questions doctrine. See LULAC, 2025 WL 1187730, at *37–38. Given that

Section 2(a) would effect a sea change in the conduct of federal elections, “[t]he Court must

identify a ‘clear congressional authorization’ for the claimed power.” Id. at *38 (quoting West

Virginia v. EPA, 597 U.S. 607, 732 (2022)). Because there is not “any clear statement of

presidential power over the Federal Form,” this Court should decline to “find an ‘elephant[] in [a]

mousehole[].’” Id. (quoting Witman v. Am. Trucking Ass’ns, Inc., 531 U.S. 457, 468 (2001)

(alteration in quotation)).
           3. The President Has No Inherent Authority to Command Unilateral Changes to
              the Federal Form.

        Unable to muster constitutional or statutory authority in their favor, Defendants have

suggested that the President has inherent authority to order changes to the Federal Form—

regardless of how explicitly Congress insulates it from partisan control. See, e.g., 52 U.S.C.

§§ 20921, 20923(a)(1), (b)(2) (creating the EAC as an “independent entity” with bipartisan

membership who serve staggered terms); id. § 20928(b)(2) (requiring bipartisan consensus for the

EAC to take “[a]ny action”). To be sure, the President can nominate EAC commissioners, U.S.

Const. art. II, § 2, cl. 2; 52 U.S.C. § 20923 (a)(1); recommend that the EAC consider taking certain

measures, U.S. Const. art. II, § 2; see LULAC, 2025 WL 1187730, at *40; and take care that the

congressionally enacted laws that the EAC superintends are faithfully executed, U.S. Const. art.

II, § 3. But Defendants’ more expansive argument—that the President can modify the Federal

Form as he pleases, even though Congress requires changes to be approved by a bipartisan majority

of commissioners through APA and PRA processes—is “untethered from precedent and

unsupported by even a maximalist view of ‘the executive Power’ under our Constitution.” LULAC,

2025 WL 1187730, at *39.

        First, the fact that “the President lacks the authority to direct the EAC to make specific,

predetermined changes to the Federal Form is consistent with the proper limits on his supervisory
authority and presents no impediment to ‘the President’s ability to perform his constitutional

duty.’” Id. at *40 (quoting Morrison v. Olson, 487 U.S. 654, 691 (1988)). That is because, as



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discussed, “the President has no constitutional duty to prescribe the content of election

regulations.” Id. The Elections Clause instead assigns that task to Congress and the States, to the

exclusion of the President. U.S. Const. art. I, § 4. Therefore, “any restriction on the President’s

ability to set the content of election regulation does not impair his ability to ‘take Care that the

Laws be faithfully executed.’” Id. (quoting U.S. Const. art. II, § 3); see also California, 2025 WL

1667949, at *8.

       Second, the Executive Order elsewhere recognizes that Congress has enacted criminal

statutes that empower the Executive to take enforcement action against noncitizens who vote or

register to vote in federal elections in violation of State law. See LULAC, 2025 WL 1187730, at

*40 (citing Exec. Order § 2(e)). Where Congress has enacted criminal statutes to address a

problem, the Executive may set enforcement priorities. But enforcement authority is not

lawmaking authority. Under “the framework of our Constitution,” the President’s role in

lawmaking is limited to “the recommending of laws he thinks wise and the vetoing of laws he

thinks bad.” Youngstown, 343 U.S. at 587. The President’s duty to “see that the laws are faithfully

executed refutes the idea that he is to be a lawmaker,” and “he therefore has no constitutional duty

to set regulations unless instructed to do so by Congress.” Id.

       Third, regardless of whether the President can remove EAC commissioners, he “lacks the

authority to direct the outcome of the rulemaking process that Congress has assigned to the EAC.”

LULAC, 2025 WL 1187730, at *41. “The Constitution provides Congress with abundant means to

oversee and control its administrative creatures,” including the authority to specify the procedures

an agency must follow before acting. See INS v. Chadha, 462 U.S. 919, 955 n.19 (1983); see also

Myers v. United States, 272 U.S. 52, 128 (1926) (“The Legislature creates the office [and] defines

the powers.” (quoting 1 Annals of Congress 581, 582 (1789) (Statement of Rep. James Madison))).

And courts have long recognized Congress’s ability to impose specific duties on executive officials
that “grow out of and are subject to the control of the law, and not to the direction of the President.”

Kendall v. United States ex rel. Stokes, 37 U.S. (12 Pet.) 524, 610 (1838); see also Am. Fed. of

Gov. Emp., AFL-CIO v. Carmen, 669 F.2d 815, 823 (D.C. Cir. 1981) (Ginsburg, R.B., J.)


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(suggesting that the President may not “overrule or revise” an officer’s interpretation of statutory

duty when that duty is “peculiarly and specifically committed to the discretion of a particular

officer” (quoting Myers, 272 U.S. at 135)); Main Street Legal Servs., Inc. v. Nat’l Sec. Council,

811 F.3d 542, 558 (2d Cir. 2016) (explaining that when Congress “grants . . . authority to executive

departments or agencies,” the President “can usually fire a recalcitrant agency head” but “cannot

take away the agency’s statutory authority or exercise it himself”).

       These congressional powers are well-established and consistent with even maximalist

views of presidential power. Indeed, from the founding to the modern era, lawyers working in the

Executive Branch have recognized this very point. See LULAC, 2025 WL 1187730, at *41. During

the Monroe Administration, the Attorney General advised the President that “[w]ere the President

to perform [a statutory duty assigned to another], he would not only be not taking care that the

laws were faithfully executed, but he would be violating them himself.” See The President and

Accounting Officers, 1 Op. Att’y Gen. 624, 625 (1823). Likewise, during the Reagan

Administration, the Office of Legal Counsel (“OLC”) approved an executive order that required

agencies to submit certain proposed rules to the OMB for review, but made clear that the President

lacked power to “divest the [agency] of ultimate statutory authority” or to “reject an agency’s

ultimate judgment delegated to it by law.” Proposed Executive Order Entitled “Federal

Regulation,” 5 Op. O.L.C. 59, 62 (1981). And, in the First Trump Administration, OLC concluded

that an executive order requiring agencies to submit rules for OMB review was valid in part

because the order did not allow OMB “to veto a proposed action” or “reject an agency’s ultimate

judgment,” and so “the authority to make the ultimate decision rests where Congress has placed

it—in the relevant agency.” Extending Regulatory Review Under Executive Order 12866 to

Independent Agencies, 43 Op. O.L.C. 232, 243 (2019) (internal quotation marks omitted).

       Here, Section 2(a) contravenes the rules that Congress has imposed on the EAC’s
processes. As noted, Congress put in place procedures to insulate the Federal Form from partisan

control, including by assigning responsibility for its maintenance to a bipartisan, multimember

commission. To that end, as the D.C. Circuit has held, the EAC cannot change the Federal Form


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unless the agency itself makes a finding that the change is necessary to assess voter eligibility. See

Newby, 838 F.3d at 9–10. Yet, at the hearing on Plaintiffs’ preliminary injunction motion,

Defendants’ counsel agreed that “the end result will be that [Section] 2(a) will be adopted by EAC

even if EAC decides . . . that they do not think it’s needed [and] they wouldn’t put it in except for

the president’s order.” PI Tr. at 73:22–74:3 (emphasis added). Moreover, like all agencies, the

EAC must comply with the procedural requirements of the APA and PRA; but Section 2(a) has

predetermined the result of those procedures, making a mockery of Congress’s intent. “[I]t has

been decided by the executive order,” Defendants’ counsel stated on behalf of both the President

and EAC, that it will be required for registrants “to provide the [documentary proof of

citizenship]”—full stop. PI Tr. at 70:7–10.

       If Congress wanted the President to control the EAC’s regulation of the Federal Form, it

knew how to say so. In other statutes delegating power to agencies, Congress has explicitly carved

out such a role for the President. See, e.g., 7 U.S.C. § 610(c) (“The Secretary of Agriculture is

authorized, with the approval of the President, to make such regulations with the force and effect

of law as may be necessary to carry out the powers vested in him by this chapter.” (emphasis

added)); 16 U.S.C. § 459r (granting the Secretary of the Interior, “with the approval of the

President,” the authority to convey recreational lands); 1 U.S.C. § 112b(e) (“[T]o promote

achievement of full employment under this chapter and the Employment Act of 1946, the

President, through the Secretary of Labor, shall develop policies and procedures and, as necessary,

recommend programs for providing employment . . . .” (emphasis added)). Here, though, the

NVRA and HAVA establish that Congress had precisely the opposite intent: Congress designed

the EAC as an “independent entity,” required a bipartisan consensus before the agency could act,

and declined to carve out any role for the President. 52 U.S.C. § 20921. Article II does not

authorize the President to disregard these statutory commands.
       For these reasons, the Supreme Court’s order in Trump v. Wilcox, 145 S. Ct. 1415 (2025),

has no bearing on the analysis. There, relying on Seila Law, the Court granted interim relief

allowing the President to remove executive officers of multimember agencies that appeared to


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“exercise considerable executive power.” Id. at 1415 (citing Seila Law LLC v. CFPB, 591 U.S.

197 (2020)). But the EAC does not wield considerable executive power, see LULAC, 2025 WL

1187730, at *40 n.48, and the D.C. Circuit has specifically recognized the agency previously

tasked with maintaining the Federal Form—the FEC—as a “classic independent regulatory

agency.” FEC v. NRA Political Victory Fund, 6 F.3d 821, 826 (D.C. Cir. 1993). In any event, the

President would not be authorized to direct the outcome of the EAC’s rulemaking process

regardless of the EAC’s independent status. The authority to remove officers is not tantamount to

authority to force them to disregard the law and reach a predetermined outcome. As discussed,

history and precedent make clear that the President may do no such thing.

        Finally, even if the scope of the President’s Article II supervisory powers were so limitless

as to allow the President to usurp the discretion that Congress vested in the EAC, the proper

resolution here would not be to uphold Section 2(a) of the Executive Order, but to limit the contents

of the Federal Form to what Congress has explicitly sanctioned. See LULAC, 2025 WL 1187730,

at *41. That is because “[t]he text, structure, and context of the NVRA and HAVA show that

Congress would not have delegated its Elections Clause authority to regulate the content of the

Federal Form to the EAC if that authority could be exercised unilaterally by the President.” Id.

Congress was careful to delegate power over the Federal Form “to bipartisan, independent panels.”

Id. “If the President, acting alone, could dictate the content of the Federal Form, Congress’s careful

structural choices would be for naught.” Id. There is thus no resolution of this case which can,

consistent with the text, purpose, and structure of the NVRA and HAVA, allow the President to

unilaterally set election rules.
II.     Plaintiffs’ Claims are Ripe and Fully Justiciable.
        A. Plaintiffs’ Claims Are Ripe.

        There are no prudential concerns that weigh against this Court making a final determination
as to Section 2(a)’s legality. The legal dispute as to whether the President lacks the authority to

issue Section 2(a) is ripe for decision.




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       As both this Court and the Supreme Court have previously explained, the purpose of the

prudential ripeness doctrine:
       is to prevent the courts, through avoidance of premature adjudication, from
       entangling themselves in abstract disagreements over administrative policies, and
       also to protect the agencies from judicial interference until an administrative
       decision has been formalized and its effects felt in a concrete way by the
       challenging parties.

LULAC, 2025 WL 1187730, at *17–18 (quoting Abbott Laby’s v. Gardner, 387 U.S. 136, 148–49

(1967)). The two-part test for assessing prudential ripeness asks (1) whether further factual

development is necessary because the challenged agency action is either tentative or still

unfolding, and (2) whether delayed review would cause hardship to the plaintiffs. Id. at *18 (citing

Am. Petrol. Inst. v. EPA, 683 F.3d 382, 390 (D.C. Cir. 2012)). Both prongs definitively weigh in

favor of full adjudication now.

       Everyone agrees further factual development is unnecessary. The Executive Order sets out

a clear, final, and binding mandate, stating that “By the authority vested in me as President . . . it

is hereby ordered [that] . . . the Election Assistance Commission shall take appropriate action to

require . . . documentary proof of citizenship” on the Federal Form. Exec. Order § 2(a)(i)(A); see

also SUMF ¶ 2. Section 2(a) further dictates both when the EAC was to act (within 30 days), as

well as the exact forms of documentary proof that are to be required. Exec. Order § 2(a)(i)–(ii);

see also SUMF ¶¶ 2–4. As this Court previously explained, “there is no mystery about what

Section 2(a) purports to require or whether Section 2(a) purports to require it.” LULAC, 2025 WL

1187730, at *27. Indeed, Defendants have essentially conceded that there are no factual disputes

to be resolved before final adjudication, asserting that “in the context of . . . constitutional

separation of powers claims, there are no questions of fact, because whether or not a statute or the

Constitution grants [the Executive Branch] the power to act in a certain way is a pure question of

law.” Defs.’ Opp’n, ECF No. 84, at 23 (quoting Ctr. for Biological Diversity v. McAleenan, 404
F. Supp. 3d 218, 233 (D.D.C. 2019)) (alteration in original).

       That the Executive Order contains a boilerplate savings clause, stating that the EAC should

take “appropriate action” “consistent with applicable law,” cannot salvage Section 2(a), nor does


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it weigh against final adjudication now. Exec. Order § 2(a). As this Court recognized, “if an

executive order unambiguously ‘command[s] . . . action that a saving[] clause purports to negate,’

a reviewing court must ignore the saving clause and read the order’s operative provision to mean

what it says.’” LULAC, 2025 WL 1187730, at *19–20 (quoting Common Cause v. Trump, 506 F.

Supp. 3d 39, 53 n.8 (D.D.C. 2020) (three-judge panel)); see also id. at *20 n.27 (collecting cases).

       That is precisely the case here. “[T]he Executive Order’s saving clause cannot resolve any

uncertainty about future agency action in Defendants’ favor because there is no uncertainty about

what the EAC has been ordered to do.” LULAC, 2025 WL 1187730, at *28. Section 2(a) states “in

no uncertain terms” that “the EAC take action to require documentary proof of citizenship on the

Federal Form,” imposes a strict timeline by which that action must occur, and, by specifying the

acceptable, required documentary proof of citizenship, “dictates the precise contours of the

mandated requirement.” Id. at *27.

       What is more, “Defendants affirmed that the Executive Order means what it says: The EAC

must add a documentary-proof-of-citizenship requirement to the Federal Form, regardless of the

feedback it receives from the States or other participants in the notice-and-comment process or of

its own conclusions about whether such proof is ‘necessary’ to allow States to assess voter

qualifications.” LULAC, 2025 WL 1187730, at *40 (citing PI Tr. at 71:13–18, 72:17–73:9,

73:13–74:17). And, “[c]ritically, Defendants did not argue that the Executive Order’s use of the

phrases ‘appropriate action’ and ‘consistent with applicable law’ leave the EAC with discretion to

add a documentary-proof-of-citizenship requirement to the Federal Form only if it concludes that

doing so is necessary and consistent with the NVRA.” Id. 16

       The second prong of the prudential ripeness inquiry is whether the Plaintiffs would be

injured if the Court were to withhold review and allow Section 2(a) to take effect. LULAC, 2025

WL 1187730, at *18. As discussed further below, see infra Argument Section II.B., Plaintiffs have

been and will continue to be injured by Section 2(a) until it is permanently enjoined.

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         As the Massachusetts district court held, Defendants are judicially estopped from
walking back that admission now. See California, 2025 WL 1667949, at *8.


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       B. Plaintiffs Have Standing.

       To demonstrate standing, plaintiffs “must show (1) an ‘injury in fact,’ (2) a sufficient

‘causal connection between the injury and the conduct complained of,’ and (3) a ‘likel[ihood]’ that

the injury ‘will be redressed by a favorable decision.’” Susan B. Anthony List v. Driehaus, 573

U.S. 149, 157–58 (2014) (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992)).

Plaintiffs make these showings.

       First, Plaintiffs have demonstrated injury as a result of Section 2(a). An injury in fact must

be “(a) concrete and particularized and (b) actual or imminent, not conjectural or hypothetical.”

Nat’l Treasury Emps. Union v. United States, 101 F.3d 1423, 1427 (D.C. Cir. 1996) (quoting

Lujan, 504 U.S. at 560). Here, Plaintiffs are harmed in their own right and also have members who

are harmed.

       To start, Plaintiffs have suffered organizational injuries that give rise to Article III

standing. 17 “To have standing ‘in its own right,’ an organization must make ‘the same showing

required of individuals: an actual or threatened injury in fact that is fairly traceable to the

defendant’s allegedly unlawful conduct and likely to be redressed by a favorable court decision.’”

LULAC, 2025 WL 1187730, at *22 (quoting Am. Anti-Vivisection Soc’y v. USDA, 946 F.3d 615,

618 (D.C. Cir. 2020)).

       Plaintiffs satisfy the requirements for organizational standing under the foundational

decision establishing its contours. In Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982), the

Supreme Court considered whether an organization that provided “counseling and referral services

for low-and moderate-income homeseekers” had standing to challenge discriminatory housing

practices that the organization alleged had “perceptibly impaired” its ability to provide its services.

Id. at 379. The Court found that the challenged practices were more than “a setback to the

organization’s abstract social interests,” and instead caused a “concrete and demonstrable injury

       17
           When one plaintiff has standing to sue on a claim, the Court “need not consider whether
the other . . . plaintiffs have standing to maintain the suit.” Vill. of Arlington Heights v. Metro.
Hous. Dev. Corp., 429 U.S. 252, 264 n.9 (1977); see also Dep’t of Com. v. New York, 588 U.S.
752, 766 (2019) (“For a legal dispute to qualify as a genuine case or controversy, at least one
plaintiff must have standing to sue.”). In any case, each Nonpartisan Plaintiff has standing here.


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to the organization’s activities” that resulted in a “drain on the organization’s resources” such that

it had standing to challenge those practices. Id.

       In Food & Drug Administration v. Alliance for Hippocratic Medicine, 602 U.S. 367 (2024),

the Supreme Court emphasized that organizational standing in Havens was proper because of an

injury to the organization’s “core business activities” like its counseling services, and not just its

abstract objectives or issue advocacy. Id. at 396. In addition, courts have properly understood that

a cognizable injury arises when (1) the defendant’s action or omission injures the organization’s

interest, and (2) the organization must divert its resources to counteract that harm. See Equal Rts.

Ctr. v. Post Props., Inc., 633 F.3d 1136, 1138, 1141–42 & n.4 (D.C. Cir. 2011) (analyzing standing

by focusing on the “diversion of resources to programs designed to counteract the injury,”

including “increased educational and counseling efforts”); Whitman-Walker Clinic, Inc. v. HHS,

485 F. Supp. 3d 1, 19 (D.D.C. 2020) (same).

       As this Court concluded at the preliminary injunction stage, Section 2(a)’s mandate that

the EAC require documentary proof of citizenship imminently threatens Plaintiffs’ core

activities—voter registration and education programming—by making it impossible for them to

register some voters using the Federal Form. LULAC, 2025 WL 1187730, at *31–33; see also

supra Background Section II.C. Plaintiffs here have also demonstrated Article III injury because

they have had to divert resources toward providing new and additional services to eligible and

registered voters to counteract the harms to their core activities caused by the Executive Order.

LULAC, 2025 WL 1187730, at *58; see also supra Background Section II.C. This Court’s prior

holding on standing was thus correct.

       More fundamentally, it was mandated by Circuit precedent. In Newby, the D.C. Circuit

held that the League and other non-profit organizations (including several state Leagues and the

Georgia NAACP) suffered an Article III injury due to the addition of a documentary proof-of-

citizenship requirement on the Federal Form because it “unquestionably make[s] it more difficult

for the League to accomplish their primary mission of registering voters.” 838 F.3d at 9. In Newby,

plaintiffs including the League, several state Leagues, and the Georgia NAACP challenged the


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EAC’s decision to permit Alabama, Georgia, and Kansas to include a documentary proof-of-

citizenship requirement on the Federal Form in those States. Id. at 6. The League of Women Voters

of Kansas (“LWVKS”) attested that the requirement harmed their voter registration efforts both

because “often potential voters didn’t have citizenship documents with them,” and “even if they

did, the League didn’t have the equipment to copy those documents.” Id. at 8. At the time Newby

was decided, it was “unclear whether Alabama or Georgia [were] currently enforcing their proof-

of-citizenship laws.” Id. The court found that the Leagues faced a risk of harm sufficient to confer

standing due to the proof-of-citizenship requirement in all three States because it had made it

harder for LWVKS to register voters and because it was foreseeable that the same would be true

for the Leagues of Alabama and Georgia. Id. at 9. The D.C. Circuit found it probative that the

record showed that voters often did not have their citizenship documents on their person; that even

if they did, registration groups lacked the ability to copy them; and that potential voters balked at

the idea of sharing sensitive documents with voter registration volunteers. Id. at 8.

       Newby’s reasoning demonstrates why standing has been established here. The burden that

a documentary proof-of-citizenship requirement would impose on Plaintiffs would be “far more

than simply a setback to [their] abstract social interests.” See All. for Hippocratic Med., 602 U.S.

at 394 (quoting Havens, 455 U.S. at 379). As this Court previously concluded, Section 2(a) poses

a “direct impediment” to one of Plaintiffs’ “core business activities,” namely, registering eligible

voters. LULAC, 2025 WL 1187730, at *31 (citing All. for Hippocratic Med., 602 U.S. at 395). If

Section 2(a) were implemented, Plaintiffs would have to divert resources from their other core

programmatic activities toward providing new services to continue registering voters. The record

here demonstrates that Plaintiffs would have to redevelop existing web-based portals to register

voters; translate the shifting voter registration requirements into additional languages for language-

minority populations; retrain members and staff on how to lawfully register voters in advance of
upcoming voter registration deadlines; and devote staff and volunteer time to answering questions

from and providing education to potential voters about compliance with the Federal Form. See

supra Background Section II.C.


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       As this Court previously found, Section 2(a) “would also make existing voter registration

efforts less effective.” LULAC, 2025 WL 1187730, at *32; see supra Background Section II.C.

Public voter registration drives at “churches, grocery stores, and in other public places will be less

effective” if the EAC implements Section 2(a) “because many people who are eligible to register

to vote do not carry their passport or other citizenship documents with them as they go about their

daily routines.” Id. As a result, Plaintiffs would be forced to invest resources in additional voter

registration services to achieve their missions. See supra Background Section II.C.

       In addition to being harmed in their own right, ASA has associational standing on behalf

of their members because “(1) [their] members would otherwise have standing to sue in their own

right; (2) the interests [they] seek[] to protect are germane to the organization’s purpose; and (3)

neither the claim asserted nor the relief requested requires the participation of individual members

in the lawsuit.” Ctr. for Sustainable Econ. v. Jewell, 779 F.3d 588, 596 (D.C. Cir. 2015) (internal

quotation marks omitted). There are members of ASA who are eligible to vote but would have

difficulty complying with a documentary proof-of-citizenship requirement. See SUMF ¶ 136. 18

These members could challenge Section 2(a) in their own right and, as a result, their injuries

support associational standing. See Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343

(1977); Elec. Priv. Info. Ctr. v. U.S. Dep’t of Com., 928 F.3d 95, 101 (D.C. Cir. 2019).

       Plaintiffs have also demonstrated sufficient causation and redressability. Causation and

redressability are closely tied but still distinct: “causation focuses on the connection between the

assertedly unlawful conduct and the alleged injury whereas redressability focuses on the



       18
          As this Court previously held, Defendants “need not know the identity of a particular
member to respond to [the organization’s] claims of injury.” LULAC, 2025 WL 1187730, at *24
(quoting Mi Familia Vota v. Fontes, 129 F.4th 691, 709 (9th Cir. 2025)). Two members of ASA
who are eligible to vote but would have difficulty complying with Section 2(a)’s documentary
proof-of-citizenship requirement because they do not have a passport, their birth certificate is
inaccessible or unavailable, and they lack other qualifying documentation have submitted
declarations about the injuries that they would suffer if they were required to re-register. See Ex.
12, Suppl. Decl. of Kyle Nitschke ¶¶ 8–10; Ex. 26, Decl. of J. Doe 1 ¶¶ 4–7; Ex. 27, Decl. of J.
Doe. 2 ¶¶ 6–9; see also Min. Order (July 11, 2025) (granting leave to file the two declarations
pseudonymously).


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connection between the alleged injury and the judicial relief requested.” West v. Lynch, 845 F.3d

1228, 1235–36 (D.C. Cir. 2017) (internal quotation marks omitted).

       The harms that Plaintiffs face from the documentary proof-of-citizenship requirement are

traceable to the two sets of Defendants: (1) “the President [who] enacted the [Executive Order],”

and (2) the federal agency and officers, sued in their official capacity, “tasked with implementing

the [Executive Order].” Young v. Trump, 506 F. Supp. 3d 921, 935 (N.D. Cal. 2020).

       Plaintiffs’ injuries would be redressed by the declaratory and injunctive relief they seek.

Plaintiffs seek permanent injunctive relief against the EAC and its officers (and not the President

or the Executive Office of the President). An injunction preventing these Defendants from acting

pursuant to Section 2(a) would redress Plaintiffs’ injuries. See, e.g., SUMF ¶¶ 27–29 (explaining

that ASA stopped voter registration when the Executive Order was issued, resumed when the Court

preliminarily enjoined Section 2(a), but would “stop or dramatically reassess [its] voter registration

activities” if “the injunction were to end”). Plaintiffs also seek a declaratory judgment, which the

Supreme Court has held can redress a plaintiff’s injuries because “it is substantially likely that the

President . . . would abide by an authoritative interpretation of the . . . statute and constitutional

provision [in question] by the District Court, even though [he] would not be directly bound by

such a determination.” Franklin v. Massachusetts, 505 U.S. 788, 803 (1992); see also Utah v.

Evans, 536 U.S. 452, 460–61 (2002).

       In addition, the Supreme Court has “held that a litigant challenging governmental action as

void on the basis of the separation of powers is not required to prove that the Government’s course

of conduct would have been different in a ‘counterfactual world’ in which the Government had

acted with constitutional authority.” Seila Law, 591 U.S. at 211 (quoting Free Enter. Fund, 561

U.S. at 512 n.12). In other words, Plaintiffs need not make any showing about what actions the

EAC would or would not have considered or taken had the President not issued Section 2(a).
Instead, it is “sufficient that the challenger ‘sustain[s] injury’ from an executive act that allegedly

exceeds the official’s authority.” Id. (quoting Bowsher v. Synar, 478 U.S. 714, 721 (1986)).

Plaintiffs are thus entitled to a permanent injunction prohibiting implementation of the Executive


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Order’s mandate to the EAC that it adopt a documentary proof-of-citizenship requirement,

regardless of whether the EAC would try to do so independently. A ruling in Plaintiffs’ favor will

ensure that the EAC does not adopt such a requirement on an “improper legal ground”—i.e., to

comply with the President’s unlawful command. See FEC v. Akins, 524 U.S. 11, 25 (1998). Relief

that invalidates and enjoins Section 2(a) will redress Plaintiffs’ harms regardless of whether the

EAC might later “reach the same result for a different reason.” Id.
III.     A Permanent Injunction Barring Implementation of Section 2(a) of the Executive
         Order Is Necessary to Prevent Ongoing and Future Irreparable Harm.

         This Court should declare that Section 2(a) of the Executive Order is unlawful and grant a

permanent injunction barring its implementation because it was issued ultra vires in violation of

the Elections Clause and constitutional separation of powers. A movant entitled to summary

judgment may obtain a permanent injunction by showing: “(1) that it has suffered an irreparable

injury; (2) that remedies available at law, such as monetary damages, are inadequate to compensate

for that injury; (3) that, considering the balance of hardships between the plaintiff and defendant,

a remedy in equity is warranted; and (4) that the public interest would not be disserved by a

permanent injunction.” Anatol Zukerman & Charles Krause Reporting, LLC. v. USPS, 64 F.4th

1354, 1364 (D.C. Cir. 2023) (quoting Nken v. Holder, 556 U.S. 418, 435 (2009)). Each of those

factors is met here.
         A. The Irreparable Harm that Section 2(a) Would Cause Can Only Be Remedied
            Through the Issuance of Permanent Injunctive Relief.

         The first two injunctive relief factors are easily satisfied. These factors are often considered

together as a showing of “irreparable injury . . . is merely one possible basis for showing the

inadequacy of the legal remedy.” Nat’l Mining Ass’n v. U.S. Army Corps of Eng’rs, 145 F.3d 1399,

1409 (D.C. Cir. 1998) (internal quotation marks omitted). Under binding D.C. Circuit precedent,

Plaintiffs have made that showing here.
         Again, in Newby, the D.C. Circuit held that the League suffered irreparable harm due to

the addition of a documentary proof-of-citizenship requirement on the Federal Form because it

“unquestionably make[s] it more difficult for the League[] to accomplish their primary mission of


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registering voters.” 838 F.3d at 9. On the record here and under the law as established in Newby,

Plaintiffs have shown that implementation of Section 2(a) would cause them irreparable harm by

interfering with their “primary mission of registering voters” ahead of upcoming elections. Id. That

harm is irreparable because “after the registration deadlines . . . pass, there can be no do over and

no redress.” Id. (internal quotation marks omitted).

       Plaintiffs have shown that implementation of Section 2(a) “would increase voter confusion

and interfere with their ongoing voter registration efforts.” LULAC, 2025 WL 1187730, at *41.

That is so because required documentary proof of citizenship is not readily available to many

eligible voters, and requiring such documentation will make voter registration drives much more

difficult for Plaintiffs. See supra Background Section II.C.

       These burdens will be felt most acutely and immediately in Arizona. As discussed, the

Supreme Court has held that to comply with its obligations under the NVRA, Arizona must permit

voters to register for federal elections by submitting the Federal Form, which does not currently

require documentary proof of citizenship. See ITCA, 570 U.S. at 20; Mi Familia Vota, 129 F.4th

at 703. An individual who registers to vote in Arizona using the Federal Form without providing

acceptable documentary proof of citizenship is thus registered as a federal-only voter, and they

may vote in federal elections. See supra Background Section II.C.

       A meaningful number of eligible voters in Arizona would likely be at risk of being

disenfranchised by the significant changes that the Executive Order mandates. In the experience

of LWVAZ and LULAC conducting voter registration events in the State, individuals who have

access to citizenship documentation ordinarily provide that information when they initially register

to vote so they can participate in all elections. SUMF ¶ 126. Yet, as of April 1, 2025, there were

more than 46,000 individuals registered to vote as federal-only voters in Arizona, at least 40,000

of whom did not provide documentary proof of citizenship at the time of their registration. SUMF
¶ 131. And an additional 200,000 longtime Arizona registered voters are now likely to be

reclassified as “federal-only” voters because they did not, in fact, provide documentary proof of




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citizenship upon registration but were mislabeled due to Arizona’s own longstanding errors

tracking documentary proof of citizenship. SUMF ¶¶ 132–35.

       For any Arizonans who lack the requisite documentation, the implementation of Section

2(a) would prevent them from registering as federal-only voters and, as a result, from voting in

federal elections. Such disfranchisement is a grave injury, undercutting Plaintiffs’ mission and

harming Plaintiff LWVAZ’s, LULAC’s, and ASA’s members.
       B. The Balance of Equities and the Public Interest Support Permanent Injunctive
          Relief.

      Because Defendants here are federal officials and agencies, the balance-of-equities and

public-interest factors “merge.” Nken, 556 U.S. at 435. These factors also overwhelmingly favor

permanent injunctive relief.

      Absent an injunction there is “‘a substantial risk’ that . . . ‘citizens will be disenfranchised

in the present federal election cycle’” as well as future election cycles. LULAC, 2025 WL 1187730,

at *43 (quoting Newby, 838 F.3d at 12); see also California, 2025 WL 1667949, at *20. Because

the public interest “favors permitting as many qualified voters to vote as possible,” such

disfranchisement is plainly not in the public interest and strongly weighs in favor of injunctive

relief. Id. (quoting Newby, 838 F.3d at 12).

      There are no valid governmental interests outweighing the clear need for an injunction here.

While there is a public interest in “preserving the integrity of [the] election process,” there is no

record evidence that an injunction here would harm that interest. LULAC, 2025 WL 1187730, at

*43 (quoting Newby, 838 F.3d at 13); see also California, 2025 WL 1667949, at *20; Fish, 957

F.3d at 1142 (affirming that, after a trial on the merits, defendants had not shown “that substantial

numbers of noncitizens successfully registered to vote” under the NVRA’s attestation procedures).

Instead, what matters is that “the government cannot suffer harm from an injunction that merely

ends an unlawful practice.” Kiakombua v. Wolf, 498 F. Supp. 3d 1, 57–58 (D.D.C. 2020) (Jackson,
J.) (internal quotation marks omitted). There is no public interest in the “perpetuation of unlawful




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agency action,” Newby, 838 F.3d at 12, or in the violation of the constitutional separation of

powers, Consumer Energy Council of Am. v. FERC, 673 F.2d 425, 471 (D.C. Cir. 1982).
         C. The Court’s Preliminary Injunction Was Appropriate and Should Be Made
            Permanent.

         This Court preliminarily enjoined the EAC Defendants “from taking any action to

implement or give effect to Section 2(a) of Executive Order 14,248.” LULAC, 2025 WL 1187730,

at *63. The Supreme Court’s recent decision regarding universal injunctions in Trump v. CASA,

Inc., No. 24A886, 2025 WL 1773631 (Jun. 27, 2025), does not call this Court’s injunction into

question. As this Court previously explained, its preliminary injunction is “neither ‘nationwide’

nor ‘universal’” in scope and is instead “tailored to the irreparable harm that Plaintiffs in these

consolidated case[s] would suffer in the absence of an injunction.” LULAC, 2025 WL 1187730, at

*59.

         There is one Federal Form. It is used nationwide, and it must be “uniform.” ITCA, 570 U.S.

at 4. 19 As such, “Plaintiffs’ challenges to Section 2(a) ‘do not involve case-by-case enforcement

of a particular policy’ but instead ‘concern a single decision about a single [requirement], to be

used on a single [form] throughout the nation.’” LULAC, 2025 WL 1187730, at *59 (quoting New

York v. U.S. Dep’t of Com., 351 F. Supp. 3d 502, 677 (S.D.N.Y. 2019), aff’d in part, rev’d in part

on other grounds, 588 U.S. 752 (2019)); see also California, 2025 WL 1667949, at *21 n.20

(granting a similar injunction against Section 2(a) while making clear the relief is tailored to the

plaintiffs’ harms). Therefore, “[t]o afford the [Plaintiffs] complete relief, the court has only one

feasible option”: enjoin the EAC Defendants from changing that single form in response to the

Executive Order’s instruction in Section 2(a). See CASA, 2025 WL 1773631, at *11. Any benefit


         19
           Indeed, one of the purposes of the Federal Form is “to facilitate interstate voter
registration drives,” which are made possible because “volunteers distributing voter registration
materials at a shopping mall in Yuma can give a copy of the same form to every person they meet
without attempting to distinguish between residents of Arizona and California.” ITCA, 570 U.S. at
12 n.4; see also H.R. Rep. No. 103-9, at 10 (1993) (“Uniform mail forms will permit voter
registration drives through a regional or national mailing, or for more than one State at a central
location, such as a city where persons from a number of neighboring States work, shop or attend
events.”).


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to non-parties would be “merely incidental.’” Id. (quoting Trump v. Hawaii, 585 U.S. 667, 717

(2018) (Thomas, J., concurring)). 20

         This result is not unusual. In a discriminatory vote dilution case, the remedy is

redistricting—not just for the voters who sued, but for everyone in the impacted districts. Allen v.

Milligan, 599 U.S. 1, 41 (2023); see also CASA, 2025 WL 1773631, at *11 n.12 (citing with

approval the remedy issued in Shaw v. Hunt, 517 U.S. 899 (1996)). There is only one map, so

nothing else would redress the plaintiffs’ injuries. Likewise here, by law, there is only one form.

The only way to redress Plaintiffs’ injuries is to enjoin Defendants from implementing Section

2(a).

         The Court should accordingly make permanent its preliminary injunction prohibiting the

implementation of Section 2(a) of the Executive Order.
                                          CONCLUSION

         Plaintiffs respectfully request that the Court enter judgment in favor of Plaintiffs on their

Section 2(a) claims and permanently enjoin the implementation of Section 2(a) of the Executive

Order.




         20
           The EAC General Counsel recognized as much when he explained at the July 2 meeting
that this Court’s preliminary injunction against the enforcement of Section 2(a) is consistent with
the CASA opinion because “there’s a singular federal form.” EAC Technical Guidelines
Development Committee Meeting Tr. at 55:16–21.


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Dated: July 11, 2025                       Respectfully submitted,

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